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                             UNITED STATES DISTRICT COURT

                              SOUTHERN DISTRICT OF OHIO

                                  EASTERN DIVISION

 In re FIRSTENERGY CORP. SECURITIES       )   No. 2:20-cv-03785-ALM-KAJ
 LITIGATION                               )
                                          )   CLASS ACTION
                                          )
 This Document Relates To:                )   Judge Algenon L. Marbley
                                          )   Magistrate Judge Kimberly A. Jolson
          ALL ACTIONS.                    )
                                          )


                     JOINT WEEKLY DEPOSITION STATUS REPORT




 4931-0876-8531.v1
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 I.       DEPOSITIONS

          A.         Noticed and Scheduled Depositions

                                            January 2025

               Date                Deponent         Location and Time     Noticing Party
      01/09/2025              Non-Party Laura      7:00 a.m. PT         Plaintiffs1
                              Campos               10:00 a.m. ET        *09/30/2024
                                                   Robbins Geller -     amended notice and
                                                   420 Lexington Ave.   amended subpoena
                                                   Suite 1832
                                                   New York, NY
                                                   10170
                                                   In-person/Remote

                                           February 2025

               Date                Deponent         Location and Time     Noticing Party
      02/27/2025              Non-Party Twin       6:30 a.m. PT         Defendant
                              Capital Management   9:30 a.m. ET         FirstEnergy Corp.
                              LLC                  Twin Capital         *01/27/2025 notice
                                                   Management LLC       and amended
                                                   3244 Washington      subpoena
                                                   Road, Suite 202
                                                   McMurray, PA
                                                   15317
                                                   In-person/Remote
      02/28/2025              Non-Party Twin       6:30 a.m. PT         Defendant
                              Capital Management   9:30 a.m. ET         FirstEnergy Corp.
                              LLC                  Twin Capital         *01/27/2025 notice
                                                   Management LLC       and amended
                                                   3244 Washington      subpoena
                                                   Road, Suite 202
                                                   McMurray, PA
                                                   15317
                                                   In-person/Remote
 1
         Plaintiffs are Class Representatives Los Angeles County Employees Retirement
 Association, Amalgamated Bank, as Trustee for the LongView LargeCap 500 Index Fund,
 LongView Quantitative LargeCap Fund, LongView Broad Market 3000 Index Fund, LongView
 LargeCap 500 Index Fund VEBA, LV LargeCap 1000 Value Index Fund, LongView Quantitative
 MidCap Fund, LongView Quant LargeCap Equity VEBA Fund and LongView Core Plus Fixed
 Income Fund, City of Irving Supplemental Benefit Plan, and Wisconsin Laborers’ Pension Fund
 (collectively, “Plaintiffs”).

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                                               March 2025

               Date                 Deponent          Location and Time        Noticing Party
      03/26/2025               Non-Party Charles      6:30 a.m. PT          Defendant Donald
                               “Chuck” Moore          9:30 a.m. ET          Schneider
                                                      Jones Day - Detroit   *10/07/2024 notice
                                                      In-person/Remote      and subpoena
      03/27/2025               Non-Party Charles      6:30 a.m. PT          Defendant Donald
                               “Chuck” Moore          9:30 a.m. ET          Schneider
                                                      Jones Day - Detroit   *10/07/2024 notice
                                                      In-person/Remote      and subpoena

          B.         Noticed Depositions with No Date Set/Target Period

      Date/Target Period            Deponent          Location and Time        Noticing Party

     No Date Set               Defendant Donald       TBD                   Defendant Charles
     No Target Period          Misheff                                      E. Jones
                                                                            *amended notice
                                                                            forthcoming
     No Date Set               Defendant Donald       TBD                   Defendant
     No Target Period          R. Schneider                                 Charles E. Jones
                                                                            *amended notice
                                                                            forthcoming
     No Date Set               Defendant Leila L.     TBD                   Defendant Charles
     No Target Period          Vespoli                                      E. Jones
                                                                            *amended notice
                                                                            forthcoming
     No Date Set               Defendant Robert P.    TBD                   Defendant Michael
     No Target Period          Reffner                                      J. Dowling
                                                                            *amended notice
                                                                            forthcoming
     No Date Set               Non-Party Allspring    TBD                   Defendant
     No Target Period          Global Investments                           FirstEnergy Corp.
                               LLC/Wells Capital                            *10/01/2024 notice
                               Management Inc.                              and subpoena
     No Date Set               Non-Party              TBD                   Defendant
     No Target Period          BlackRock                                    FirstEnergy Corp.
                               Institutional Trust                          *10/01/2024 notice
                               Company                                      and subpoena



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      Date/Target Period        Deponent         Location and Time      Noticing Party

     No Date Set           Non-Party Boston      TBD                 Defendant
     No Target Period      Partners/BNY                              FirstEnergy Corp.
                           Mellon Asset                              *10/01/2024 notice
                           Management North                          and subpoena
                           America Corp.
     No Date Set           Non-Party Bowling     TBD                 Defendant
     No Target Period      Portfolio                                 FirstEnergy Corp.
                           Management LLC                            *10/01/2024 notice
                                                                     and subpoena
     No Date Set           Non-Party Bradley     TBD                 Defendants Michael
     No Target Period      Bingaman                                  J. Dowling and
                                                                     Charles E. Jones
                                                                     *amended notice
                                                                     and subpoena
                                                                     forthcoming
     No Date Set           Non-Party Corient     TBD                 Defendant
     No Target Period      Holdings Inc.                             FirstEnergy Corp.
                                                                     *10/29/2024 served
                                                                     notice and subpoena
     No Date Set           Non-Party Ebony       TBD                 Defendant Michael
     No Target Period      Yeboah Amankwah                           J. Dowling
                                                                     *amended notice
                                                                     and subpoena
                                                                     forthcoming
     No Date Set           Non-Party Federated   TBD                 Defendant
     No Target Period      Hermes, Inc.                              FirstEnergy Corp.
                                                                     *10/01/2024 notice
                                                                     and subpoena
     No Date Set           Non-Party Intech      TBD                 Defendant
     No Target Period      Investment                                FirstEnergy Corp.
                           Management LLC                            *10/01/2024 notice
                                                                     and subpoena
     No Date Set           Non-Party Invesco     TBD                 Defendant
     No Target Period      Ltd.                                      FirstEnergy Corp.
                                                                     *11/27/2024 served
                                                                     notice and subpoena
     No Date Set           Non-Party Josh        TBD                 Defendants Charles
     No Target Period      Rubin                                     E. Jones and
                                                                     Michael Dowling
                                                                     *10/29/2024 email




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      Date/Target Period        Deponent          Location and Time      Noticing Party

     No Date Set           Non-Party J.P.         TBD                 Defendant
     No Target Period      Morgan Investment                          FirstEnergy Corp.
                           Management Inc.                            *10/11/2024 notice
                                                                      and subpoena
     No Date Set           Non-Party Justin       TBD                 Defendants Michael
     No Target Period      Biltz                                      J. Dowling and
                                                                      Charles E. Jones
                                                                      *amended notice
                                                                      and subpoena
                                                                      forthcoming
     No Date Set           Non-Party Loomis,      TBD                 Defendant
     No Target Period      Sayles & Company,                          FirstEnergy Corp.
                           L.P.                                       *10/01/2024 notice
                                                                      and subpoena
     No Date Set           Non-Party Matthew      TBD                 Defendant Charles
     No Target Period      Brakey                                     E. Jones
                                                                      *amended notice
                                                                      and subpoena
                                                                      forthcoming
     No Date Set           Non-Party Matthew      TBD                 Defendant Charles
     No Target Period      Richlovsky                                 E. Jones
                                                                      * amended notice
                                                                      and subpoena
                                                                      forthcoming
     No Date Set           Non-Party Newton       TBD                 Defendant
     No Target Period      Investment                                 FirstEnergy Corp.
                           Management North                           *12/05/2024 notice
                           America, LLC                               and subpoena
     No Date Set           Non-Party Pacific      TBD                 Defendant
     No Target Period      Investment                                 FirstEnergy Corp.
                           Management                                 *10/01/2024 notice
                           Company LLC                                and subpoena
     No Date Set           Non-Party Pugh         TBD                 Defendant
     No Target Period      Capital                                    FirstEnergy Corp.
                           Management, Inc.                           *10/01/2024 notice
                                                                      and subpoena
     No Date Set           Non-Party PGIM         TBD                 Defendant
     No Target Period      Quantitative                               FirstEnergy Corp.
                           Solutions LLC (f/k/a                       *11/27/2024 served
                           QMA, LLC)                                  notice and subpoena




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       Date/Target Period        Deponent         Location and Time      Noticing Party

      No Date Set           Non-Party RREEF       TBD                 Defendant
      No Target Period      America L.L.C.                            FirstEnergy Corp.
                                                                      *10/01/2024 notice
                                                                      and subpoena
      No Date Set           Non-Party Santino     TBD                 Defendant Charles
      No Target Period      Fanelli                                   E. Jones
                                                                      *amended notice
                                                                      and subpoena
                                                                      forthcoming
      No Date Set           Non-Party State       TBD                 Defendant
      No Target Period      Street Global                             FirstEnergy Corp.
                            Advisors Inc.                             *11/07/2024 served
                                                                      notice and subpoena
      No Date Set           Non-Party Steven      TBD                 Defendant Charles
      No Target Period      Staub                                     E. Jones
                                                                      *amended notice
                                                                      and subpoena
                                                                      forthcoming
      No Date Set           Non-Party The Bank TBD                    Defendant
      No Target Period      of New York Mellon                        FirstEnergy Corp.
                            Corp.                                     *11/04/2024 served
                                                                      notice and subpoena
      No Date Set           Non-Party Wells       TBD                 Defendant
      No Target Period      Fargo Clearing                            FirstEnergy Corp.
                            Services, LLC                             *12/20/2024 served
                                                                      notice and subpoena
      No Date Set           Non-Party Western     TBD                 Defendant
      No Target Period      Asset Management                          FirstEnergy Corp.
                            Company                                   *10/01/2024 notice
                                                                      and subpoena

Dated: January 28, 2025




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Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

           I hereby certify that the foregoing was filed electronically on January 28, 2025. Notice of

  this filing will be sent to all electronically registered parties by operation of the Court’s electronic

  filing system. Parties may access this filing through the Court’s system.

                                                       s/ Joseph F. Murray
                                                       Joseph F. Murray (0063373)




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